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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                            COLUMBIA DIVISION

 Tyrone Tutson,                          )       C/A No.: 1:19-3027-JFA-SVH
                                         )
                      Plaintiff,         )
                                         )
 vs.                                     )
                                         )                 ORDER
 Target Corporation,                     )
                                         )
                     Defendant.          )
                                         )

       This action was removed to this court on October 25, 2019. [ECF No. 1].

Pursuant to the last scheduling order, dispositive motions, if any, were to be

filed by no later than September 4, 2020. [ECF No. 17]. This deadline has

now expired.

       Because the discovery and dispositive motions deadlines in this case

have passed and no dispositive motions were filed, this case is ready for trial.

The Clerk is hereby directed to forward the file to the United States District

Judge for trial.

       IT IS SO ORDERED.



September 8, 2020                            Shiva V. Hodges
Columbia, South Carolina                     United States Magistrate Judge
